






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00393-CR






Annisa Radie Williams, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF BELL COUNTY, 426TH JUDICIAL DISTRICT


NO. 61100, HONORABLE FANCY H. JEZEK, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Annisa Radie Williams seeks to appeal a judgment of conviction for possession of
a controlled substance.  The trial court has certified that this is a plea bargain case and Williams has
no right of appeal, and also that Williams waived the right of appeal.  See Blanco v. State, 18 S.W.3d
218, 220 (Tex. Crim. App. 2000).  The appeal is dismissed.  See Tex. R. App. P. 25.2(a)(2), (d).


		

				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices Waldrop and Henson

Dismissed for Want of Jurisdiction

Filed:   July 26, 2007

Do Not Publish


